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From:             Rakesh Kilaru
To:               Congdon, James (ATR); Hughes, Jared A. (ATR); Tarlov, Yvette (ATR)
Cc:               Chris.Yates@LW.com; MB-Britt Miller; nwyson@sidley.com; "azambrano@sidley.com"; Somvichian, Whitty;
                  "Reilly, Katie"; RB-Robert Fuller; Cali Arat
Subject:          [EXTERNAL] Follow up re: House settlement
Date:             Tuesday, January 14, 2025 11:24:20 AM



Hi James, Jared, and Yvette:

Following up on your phone call last week and our discussions, I am providing the following in writing
(and copying the conference counsel who were on our call).

The House defendants agree that the House settlement does not provide immunity from a later
action by DOJ. Defendants do, however, retain all rights to rely on the settlement and potential court
approval thereof in any such action, including as a defense to liability.

Thanks,
Rakesh

Rakesh Kilaru | Partner
WILKINSON STEKLOFF LLP
2001 M Street NW, 10th Flr, Washington, DC 20036
Direct: (202) 847-4046 | Fax: (202) 847-4005
rkilaru@wilkinsonstekloff.com
wilkinsonstekloff.com
Pronouns: He/Him/His




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